Filed 01/10/24                            Case 22-22056                             Doc 256



                               UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF CALIFORNIA
                                        CIVIL MINUTES
            _____________________________________________________________________
            Case Title: David R. Michal           Case No.: 22-22056 - C - 7
                                                  Docket Control No. DM-1
                                                  Date: 01/10/2024
                                                  Time: 10:00 AM

            Matter: [235] - Objection to Claim of Steven D Schisler, Claim
            Number 7 [DM-1] Filed by Debtor David R. Michal (dpas)

            Judge: Christopher M. Klein
            Courtroom Deputy: Lindsey Peratis
            Reporter: Electronic Record
            Department: C
            _____________________________________________________________________
            APPEARANCES for:
            Movant(s):
            (by zoom) Debtor's Attorney - Aron M. Oliner
            Respondent(s):
            (by zoom) Creditor's Attorney - William J. Healy; Trustee - Kimberly
           J. Husted; Trustee's Attorney - Gabriel P Herrera; (by zoom)
           Creditor's Attorney - Anthony Asebedo; (by zoom) Creditor's Attorney -
           Robert Deutsch
            _____________________________________________________________________
                                          CIVIL MINUTES


           Objection Overruled without prejudice
           Findings of fact and conclusions of law stated orally on the record


                 The court will issue an order.
